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Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF TEXAS, AUSTIN DIVISION

Case number (if known)                                                      Chapter       7
                                                                                                                             Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Casey James, Ltd.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                                                                                  c/o J. Patrick Lowe, Chapter 7 Trustee
                                                                                                  for New Opportunities, Inc.
                                  8521 N. New Braunfels, Suite 105                                2402 East Main Street
                                  San Antonio, TX 78218                                           Uvalde, TX 78801
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Bexar                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                     Partnership (excluding LLP)
                                     Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Casey James, Ltd.                                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5222

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor    Casey James, Ltd.                                                                             Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Attachment                                               Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or              No
    have possession of any
                                                  Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal           Yes.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes.       Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                                25,001-50,000
    creditors                           50-99                                          5001-10,000                                50,001-100,000
                                        100-199                                        10,001-25,000                              More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   Casey James, Ltd.                                                            Case number (if known)
         Name

                              $50,001 - $100,000                       $10,000,001 - $50   million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                              $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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Debtor    Casey James, Ltd.                                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 19, 2021
                                                  MM / DD / YYYY


                             X   /s/ J. Patrick Lowe, Chapter 7 Trustee                                   J. Patrick Lowe, Chapter 7 Trustee
                                 Signature of authorized representative of debtor                         Printed name

                                         on behalf of its General Partner, New
                                 Title   Opportunities, Inc.




18. Signature of attorney    X   /s/ Kell C. Mercer                                                        Date April 19, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Kell C. Mercer
                                 Printed name

                                 Kell C. Mercer, P.C.
                                 Firm name

                                 1602 E. Cesar Chavez Street
                                 Austin, TX 78702
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (512) 627-3512                Email address      kell.mercer@mercer-law-pc.com

                                 Tex. Bar No. 24007668
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Debtor     Casey James, Ltd.                                                                 Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF TEXAS, AUSTIN DIVISION

Case number (if known)                                                    Chapter      7
                                                                                                                         Check if this an
                                                                                                                          amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     New Opportunities, Inc.                                                  Relationship to you               General Partner
           Western District of Texas, San
District   Antonio Division                           When     1/07/21              Case number, if known             21-50018-rbk
Debtor     New Opportunities, Inc.                                                  Relationship to you               General Partner
           Western District of Texas, San
District   Antonio Division                           When     1/13/21              Case number, if known             21-50044-rbk
Debtor     Wallis Alan, Ltd.                                                        Relationship to you               Affliate
           Western District of Texas, San
District   Antonio Division                           When      4/19/21             Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 6
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                                                               United States Bankruptcy Court
                                                            Western District of Texas, Austin Division
 In re      Casey James, Ltd.                                                                            Case No.
                                                                                Debtor(s)                Chapter     7




                                               VERIFICATION OF CREDITOR MATRIX


I, J. Patrick Lowe, the Chapter 7 Trustee of New Opportunities, Inc., the General Partner of the partnership named as the debtor in

this case, hereby verify that the attached list of creditors is true and correct to the best of my knowledge based upon the information

in the Schedules and Statement of Financial Affairs filed for New Opportunities, Inc., and the Notes and Statement of Limitations,

methodologies, and Disclaimers Regarding Debtor's Schedules of Assets and Liabilities and Statement of Financial Affairs.


 Date:       April 19, 2021                                          /s/ J. Patrick Lowe, Chapter 7 Trustee
                                                                     J. Patrick Lowe, Chapter 7 Trustee on behalf of its General
                                                                     Partner, New Opportunities, Inc.
                                                                     Signer/Title




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                                       New Opportunities Inc.             U.S. BANKRUPTCY COURT
                                       8531 N. New Braunfels, Suite 105   615 E. HOUSTON STREET, ROOM 597
                                       San Antonio, TX 78217-6365         SAN ANTONIO, TX 78205-2055



                                       8531 N. NEW BRAUNFELS              ADAMS, BILLY
                                       8531 N. NEW BRAUNFELS #105         P.O. BOX 353
                                       SAN ANTONIO, TX 78217-6365         SOMERSET, TX 78069-0353



ANDERSON, KAY                          ANDERSON, SUZANNE                  Antonio A. Zardenetta
P.O. BOX 473                           135 PIN OAK LANE                   3211 Canaveral
LEAKEY, TX 78873-0473                  HEMPSTEAD, TX 77445-9312           San Antonio, Texas 78217-4008



April Caleen Smith                     Arlene Mahan                       Art Mahan Sr. or Elizabeth A. Gomez
PO Box 699                             7310 Robin Rest                    Stephen A. Roberts
Somerset, TX 78069-0699                San Antonio, TX 78209-3537         Clark Hill Strasburger
                                                                          720 Brazos, Suite 700
                                                                          Austin, TX 78701-2531

Art Mahan, Sr. or Elizabeth A. Gomez   BARRERA, JOSE                      BASKIN LIVING TRUST
752 Eastview Dr.                       10222 SEVERN                       113 JAVELINA TRAIL
Canyon Lake, TX 78133-6459             SAN ANTONIO, TX 78217-3943         BASTROP, TX 78602-3976



BISHOP, JACOB                          BISHOP, LAURA                      BISHOP, SAMUEL
131 WESTWOOD WAY                       131 WESTWOOD                       131 WESTWOOD
SAN ANTONIO, TX 78218-1717             SAN ANTONIO, TX 78218-1717         SAN ANTONIO, TX 78218-1717



BLACKMAN, ETHAN                        BLACKMAN, LISA                     BONEBRAKE, MARY
P.O. BOX 275                           1653 US HWY 83 S                   3630 CARMEL DR.
LEAKEY, TX 78873-0275                  LEAKEY, TX 78873-3025              CASPER, WY 82604-4950



BRICE, BILLY JR                        BRICE, LINDA                       BRICE, VIRGINIA
17402 W. LAKEROSE CT.                  13937 BARROW CLIFF LANE            17402 W. LAKEROSE CT.
CYPRESS, TX 77429-6726                 CYPRESS, TX 77429-6649             CYPRESS, TX 77429-6726



BROWN, NANCY                           Barbara Legler                     Barbara Woodriff and Peter Guenther
6926 SCENIC SUNSET                     218 Buckeye Dr                     c/o Patrick H. Autry
SAN ANTONIO, TX 78249-3515             Katy, TX 77450-1508                Branscomb PLLC
                                                                          4630 North Loop 1604 East, #206
                                                                          San Antonio, TX 78249

Bexar County                           Birgit Rodriguez                   Bonnie W Smith
c/o Don Stecker                        7127 Westboro Place                2788 Indian Wells Dr
112 E. Pecan Street, Suite 2200        7127 Westboro Place                Kerrville, TX 78028-8056
San Antonio, TX 78205-1588             San Antonio, TX 78229-4131
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CADENA, J. DON                        CALVIN, MIKE                             CHISUM FAMILY TRUST
3111 QUAKERTOWN                       3007 SIR PHILLIP                         P.O. BOX 337
SAN ANTONIO, TX 78230-3432            SAN ANTONIO, TX 78209-3516               LEAKEY, TX 78873-0337



CLEVELAND, CANDICE                    CLEVELAND, CLAUDIA                       CLEVELAND, ELIZABETH
14426 BROOKHOLLOW BLVD.               21582 FM 1954                            3110 WRIGHT ST. #B
SAN ANTONIO, TX 78232-3830            HOLLIDAY, TX 76366-3960                  AUSTIN, TX 78704-2834



CLEVELAND, GEORGE                     CLEVELAND, MARTHA                        CLEVELAND, TED
1508 ANDRIA                           63 WOLFETON WAY                          63 WOLFETON WAY
WICHITA FALLS, TX 76302-3512          SAN ANTONIO, TX 78218-6034               SAN ANTONIO, TX 78218-6034



CONWAY, KAREN                         CRABTREE, DONNA                          CRITTELL, CARL AND MARY
P.O. BOX 483                          6306 STABLE BROOK                        314 CENTERWAY
HARPER, TX 78631-0483                 SAN ANTONIO, TX 78249-4600               SAN ANTONIO, TX 78233-6504



CZARNECKI, JOSHUA                     CZARNECKI, JULIE                         CZARNECKI, KAYLEE
16406 PEMOAK                          16406 PEMOAK DR.                         16406 PEMOAK
SAN ANTONIO, TX 78240-5607            SAN ANTONIO, TX 78240-5607               SAN ANTONIO, TX 78240-5607



CZARNECKI, MEAGAN                     Cameron County                           Carl Frank Crittell and Mary Alice Crittell
16406 PEMOAK                          c/o Diane W. Sanders                     Malaise Law Firm
SAN ANTONIO, TX 78240-5607            Linebarger Goggan Blair & Sampson, LLP   909 NE Loop 410, Suite 300
                                      P.O. Box 17428                           San Antonio, TX 78209-1315
                                      Austin, TX 78760-7428

Carrie Smith                          Cassia E. Johnson                        Charles S. Plummer
2309 Windswept Dr                     PO Box 746                               229 Geneseo Road
2309 Windswept Dr                     Converse, TX 78109-0746                  San Antonio, Texas 78209-5913
Austin, TX 78738-5497


Cheryl M. Wetzel                      DAWSON KENDALL TRUST                     DAWSON, EUGENE
10007 Carolwood Drive                 129 TURNBERRY WAY                        29 TILBURY LANE
San Antonio, TX 78213-2044            SAN ANTONIO, TX 78230-5651               SAN ANTONIO, TX 78230-5639



DAWSON, MARY D.                       DAWSON, SAM                              DODERER TRUST - MARITAL
29 TILBURY LANE                       129 TURNBERRY WAY                        8214 ROBIN REST
SAN ANTONIO, TX 78230-5639            SAN ANTONIO, TX 78230-5651               SAN ANTONIO, TX 78209-2436



DODERER TRUST - REVOCABLE             DODERER, SYLVIA                          DUGGER, NANCY
8214 ROBIN REST                       8214 ROBIN REST                          126 HILER
SAN ANTONIO, TX 78209-2436            SAN ANTONIO, TX 78209-2436               SAN ANTONIO, TX 78209-2731
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Dana & Linda Roberts                  Dana E. & Eddie L. Roberts
                                                          16              Dana E. Roberts
114 Laural Lane                       114 Laural Lane                                114 Laural Lane
Universal City, TX 78148-3514         Universal City, TX 78148-3514                  114 Laural Lane
                                                                                     Universal City, TX 78148-3514


David Rodriguez                       Doderer Family Living Trust - Marital          Doderer Revocable Trust
7127 Westboro Place                   c/o Sylvia Doderer, Trustee                    c/o Sylvia Doderer, Trustee
7127 Westboro Place                   8214 Robin Rest                                8214 Robin Rest
San Antonio, TX 78229-4131            San Antonio, TX 78209-2436                     San Antonio, TX 78209-2436


Donna L. Crabtree                     Donna M. Valiente                              Douglas Little
6306 STABLE BROOK DR                  c/o Stephen A. Roberts                         4703 HWY 2563
SAN ANTONIO, TX 78249-4600            Clark Hill Strasburger                         Gorman, TX 76454-2637
                                      720 Brazos, #700
                                      Austin, TX 78701-2531

EDWARDS, ODESSA                       Elizabeth Plummer as Custodian for Julian Pl   Estate of Odessa Edwards
1016 E. GRUBB                         c/o Lamont A. Jefferson                        1016 e grubb drive
MESQUITE, TX 75149-7504               Jefferson Cano                                 Mesquite, TX 75149-7504
                                      112 E. Pecan, Suite 1650
                                      San Antonio, TX 78205-8902

FARVER, JEFF H.                       FINLEON, MIKE                                  FISHER, JOANN
3319 FALLING BROOK                    2127 SHADY CLIFF                               P.O. BOX 275
SAN ANTONIO, TX 78258-4432            SAN ANTONIO, TX 78232-3113                     LEAKEY, TX 78873-0275



FRAZEE. GRETCHEN                      FRIDDLE, CASS                                  FRIDDLE, CHRISTIAN D.
1724 COLUMBIA PIKE                    P.O. BOX 461031                                P.O. BOX 461031
ARLINGTON, VA 22204-4604              SAN ANTONIO, TX 78246-1031                     SAN ANTONIO, TX 78246-1031



FRIDDLE, PAUL                         Frankie M. Klonek                              GARCIA, KATE
P.O. BOX 293718                       Malaise Law Firm                               14018 PEBBLEBROOK
KERRVILLE, TX 78029-3718              909 NE Loop 410, Suite 300                     HOUSTON, TX 77079-5743
                                      San Antonio, TX 78209-1315


GILLESPIE, VICKIE                     GRAHAM, SANDRA                                 GRAY, HANK AND BILLIE
3601 NORTH HILLS BLVD.                3043 LOW OAK                                   13922 PORT BLUFF
NORTH LITTLE ROCK, AR 72116-8591      SAN ANTONIO, TX 78232-1814                     SAN ANTONIO, TX 78216-1931



GRIGORY, STEPHEN                      GUENTHER, PAULA                                GUENTHER, PETER
9107 POWHATAN                         P.O. BOX 96                                    2308 10th STREET
SAN ANTONIO, TX 78230-4401            UKIAH, OR 97880-0096                           MONROE, WI 53566-1803



Garrett M. Johnson                    Garrett M. Johnson                             Gary Wheatley
PO Box 746                            Stephen A. Roberts                             c/o Law Office of William B. Kingman, P.
Converse, TX 78109-0746               Clark Hill Strasburger                         3511 Broadway
                                      720 Brazos, Suite 700                          San Antonio, TX 78209-6513
                                      Austin, TX 78701-2531
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George H. Williamson                  Gretchen Mahan Frazee16             Gretchen Mahan Frazee
c/o Ronald J. Johnson                 1724 Columbia Pike                     Stephen A. Roberts
Law Offices of Ronald J. Johnson      Arlington, VA 22204-4604               Clark Hill Strasburger
3233 S. Valley View Lane                                                     720 Brazos, Suite 700
San Antonio, TX 78217-5139                                                   Austin, TX 78701-2531

HALE, GRAHAM                          HALE, JAMES                            HALE, JUSTIN
3008 WORTH LANE                       229 FLEETWOOD                          202 BLUFFKNOLL
BELTON, TX 76513-8178                 SAN ANTONO, TX 78232-2111              SAN ANTONIO, TX 78216



HALE, MATTHEW                         HALE, SANDRA                           HARRIS, DANIEL
10214 BRIAR ROSE DR.                  229 FLEETWOOD                          2111 SMOKE TREE TRAIL
HOUSTON, TX 77042-2426                SAN ANTONIO, TX 78232-2111             ROUND ROCK, TX 78681-2207



HARRIS, DELLA                         HENGST, EVELYN                         HENGST, MAX
10314 KINGS GRANT DR.                 5120 OLD AUGER ROAD                    5120 OLD AUGER ROAD
SAN ANTONIO, TX 78230-4117            CRISFIELD, MD 21817-2536               CRISFIELD, MD 21817-2536



HUGHES TRUST                          (p)HUMMEL REVOCABLE LIVING TRUST       (p)SUANNE HUMMEL
3 HILLVIEW TERRACE                    ATTN CHERYL H HUMMEL                   6505A MELROSE TRAIL
MEDWAY, MA 02053-1903                 7609 NE 61ST CIRCLE                    APT A
                                      VANCOUVER WA 98662-4904                AUSTIN TX 78727-6988


Harlingen City Tax Office             IZQUIERDO, ROBERTO                     Internal Revenue Service
Village Shopping Center               TIACOPAC                               P.O. Box 7346
609 N. 77 Sunshine Strip              SAN ANGEL, MX DF 01040                 Philadelphia, PA 19101-7346
Harlingen, TX 78550-8845


J. Don Cadena                         JBS 401K PSP                           JOHN BROWN
3111 Quakertown Dr                    317 SIDNEY BAKER SOUTH, STE. 400-264   12591 BLANCHARD ROAD
San Antonio, TX 78230-3432            KERRVILLE, TX 78028-5948               ATASCOSA, TX 78002-3956



JOHNSON, CASSIA                       JOHNSON, GARRETT                       Jacob P. Bishop
P.O. BOX 746                          P.O. BOX 746                           12822 Castle George St.
CONVERSE, TX 78109-0746               CONVERSE, TX 78109-0746                San Antonio, TX 78230-2807



Jacob P. Bishop                       James E. Mahan, Jr.                    Jeffrey Lilly
Stephen A. Roberts                    445 Copper Ridge Dr.                   C/O Elena P. Serna
Clark Hill Strasburger                New Braunfels, TX 78132-3522           Rosenblatt Law Firm
720 Brazos, Suite 700                                                        16731 Huebner Rd
Austin, TX 78701-2531                                                        San Antonio, Texas 78248-2351

Jeffrey M. Manship                    Jennifer Michulka                      JoAnn Fisher
c/o Ronald J. Johnson                 191 Private Road 7064                  P O Box 275
Law Offices of Ronald J. Johnson      Buna, TX 77612-1778                    Leakey, TX 78873-0275
3233 S. Valley View Lane
San Antonio, TX 78217-5139
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JoAnn Fisher custodian for Ethan Blackman
                                      Joshua Czarnecki 16                 Joshua Czarnecki
P O Box 275                                 16618 Worthington              c/o Stephen A. Roberts
P O Box 275                                 San Antonio, TX 78248-2212     Clark Hill Strasburger
Leakey, TX 78873-0275                                                      720 Brazos, Suite 700
                                                                           Austin, TX 78701-2531

Judith Paddock                              Julian & Nana Stewart          Julian C. and Nana B. Stewart Management Tru
1421 Skyline Dr.                            Mangement Trust                c/o Lamont A. Jefferson
Canyon Lake, TX 78133-4821                  200 Patterson                  Jefferson Cano
                                            San Antonio, TX 78209-6223     112 E. Pecan, Suite 1650
                                                                           San Antonio, TX 78205-8902

Julie M. Czarnecki                          Julie M. Czarnecki             KACHMER, MIKE
16406 Pemoak                                c/o Stephen A. Roberts         1475 HILLCREST FOREST
San Antonio, TX 78240-5607                  Clark Hill Strasburger         CANYON LAKE, TX 78133-5008
                                            720 Brazos, #700
                                            Austin, TX 78701-2531

KEIR, RANDY AND DIANE                       KLONEK, FRANKIE                KOOIMAN, RODNEY
12 THUNDER HOLLOW                           5813 ARCHWOOD                  21011 BRADBURY LANE
SPRING, TX 77381-5139                       SAN ANTONIO, TX 78239-1409     MABELVALE, AR 72103-8779



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PEMBROKE PINES, FL 33024-3178               Harper, TX 78631-0483          Leakey, TX 78873-0473



Kayla B. Nowak                              Kayla B. Nowak                 Kaylee N. Czarnecki
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                                            Austin, TX 78701-2531

Kaylee N. Czarnecki                         LAMB, ROBERT                   LEGLER, BARBARA
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Austin, TX 78701-2531

LEINWEBER, LANNY                            LEINWEBER, MARILYN             LIDIAK, LAJOTA
1212 LEINWEBER BLVD.                        1212 LEINWEBER LANE            4119 TIMBER TRAIL DR.
MOUNTAIN HOME, TX 78058-1140                MOUNTAIN HOME, TX 78058-1140   ARLINGTON, TX 76016-4620



LILLY REVOCABLE TRUST                       LILLY, JEFF                    LILLY, TERESA
11125 FM 1560                               11125 FM 1560 N                11125 FM 1560 N
HELOTES, TX 78023-4230                      HELOTES, TX 78023-4230         HELOTES, TX 78023-4230



LITTLE TRUST                                LITTLE, DOUGLAS                Lanny & Marilyn Leinweber
4703 HWY 2563                               4703 HIGHWAY 2563              1212 Leinweber Blvd.
GORMAN, TX 76454-2637                       GORMAN, TX 76454-2637          Mt. Home, TX 78058-1140
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Laura A. Bishop and Paul R. Bishop    Laura A. Bishop and Paul
                                                          16 R. Bishop    Laura M. Bishop
131 Westwood Way                      c/o Stephen A. Roberts             131 Westwood Way
San Antonio, TX 78218-1717            Clark Hill Strasburger             San Antonio, TX 78218-1717
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                                      Austin, TX 78701-2531

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1653 US Hwy 83 S                      7310 ROBIN REST                    752 EASTVIEW DRIVE
1653 US Highway 83 S                  SAN ANTONIO, TX 78209-3537         CANYON LAKE, TX 78133-6459
Leakey, TX 78873-3025


MAHAN, JAMES JR                       MAHAN, PETERSEN                    MANSELL, CHARISSE
445 COPPER RIDGE DRIVE                546 HAZY HILLS LOOP                10054 WHEAT RIDGE DR.
NEW BRAUNFELS, TX 78132-3522          DRIPPING SPRINGS, TX 78620-2136    FRISCO, TX 75033-4719



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909 BIG EASY STREET                   1100 ABBOTS LANE                   3406 ELM HILL ST.
ODESSA, TX 79765-2295                 DENTON, TX 76205-8049              SAN ANTONIO, TX 78230-2703



MANSHIP, TRISHA                       MAXWELL, LINDA                     MAYFIELD, ERIC
3406 ELM HILL ST.                     P.O. BOX 74                        225 HUNTER HILLS DRIVE
SAN ANTONIO, TX 78230-2703            BOERNE, TX 78006-0074              NEW BRAUNFELS, TX 78132-4230



MEARSE, SALLISUE                      MICHULKA, JENNIFER                 MOFFETT, DARINDA
6313 NAPOLI CIRCLE                    191 PR 7064                        1143 SCENIC DRIVE
LEWISVILLE, TX 75077-8528             BUNA, TX 77612                     GRANBURY, TX 76048-5332



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McWHORTER, CATHY                      Meagan A. Roberts                  Meagan M. Czarnecki
3945 ROBIN TRAIL                      Stephen A. Roberts                 16406 Pemoak
COLLEGE STATION, TX 77845-8172        Clark Hill Strasburger             San Antonio, TX 78240-5607
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                                      Austin, TX 78701-2531

Michael F Calvin                      Michael J. Finleon                 NEAL, ROBIN
3007 Sir Phillip                      2127 Shady Cliff                   5717 WINDY HOLLOW
San Antonio, TX 78209-3516            San Antonio, Texas 78232-3113      SAN ANTONIO, TX 78239-2017
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NEWBERRY, MARGARET                    NIEDERHOFER, G.W. 16                NIEDERHOFER, GLENDA
14511 CHADBOURNE DR.                  26933 MERLOT RIVER                 26933 MERLOT RIVER
HOUSTON, TX 77079-6525                KINGWOOD, TX 77339-1449            KINGWOOD, TX 77339-1449



NIEMEYER, CARLA                       NOLL, PATRICIA                     NOWAK, KAYLA
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                                      Austin, TX 78701-2531              San Antonio, TX 78209-1223

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1016 E Grubb Drive                    1421 SKYLINE DRIVE                 131 WESTWOOD WAY
Mesquite, TX 75149-7504               CANYON LAKE, TX 78133-4821         SAN ANTONIO, TX 78218-1717



PITTS, CHRISTIAN                      PLUMMER, CHARLES                   PLUMMER, ELIZABETH
625 CREEKSIDE WAY #1516               229 GENESEO                        229 GENESEO RD.
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Austin, TX 78701-2531                                                    WINDCREST, TX 78239-3273

ROBERTS, DANA                         ROBERTS, DANA & EDDIE              ROBERTS, LINDA
114 LAURAL LANE                       114 LAURAL LANE                    114 LAURAL LANE
UNIVERSAL CITY, TX 78148-3514         UNIVERSAL CITY, TX 78148-3514      UNIVERSAL CITY, TX 78148-3514



ROBINSON, GIL                         RODRIGUEZ, BIRGIT                  RODRIGUEZ, DAVID
5150 BROADWAY #610                    7127 WESTBORO PLACE                7127 WESTBORO PLACE
SAN ANTONIO, TX 78209-5710            SAN ANTONIO, TX 78229-4131         SAN ANTONIO, TX 78229-4131



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5717 Windy Hollow                     21011 Bradbury Ln                  1026 RIVER GLEN WEST
5717 Windy Hollow                     21011 Bradbury Ln                  SAN ANTONIO, TX 78216-7829
San Antonio, TX 78239-2017            Mabelvale, AR 72103-8779
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SCHAEFER, JOYCE                       SCHAEFER, MORRIS 16                 SIKES, CLYDE & BARBARA
955 RIVERWAY                           955 RIVER WAY                      30920 FIREBIRD DR.
SPRING BRANCH, TX 78070-5967           SPRING BRANCH, TX 78070-5967       FAIR OAKS RANCH, TX 78015-4164



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2309 WINDSWEPT DRIVE                   11603 MILE DR.                     426 LOCH LOMOND
AUSTIN, TX 78738-5497                  HOUSTON, TX 77065-1805             CIBOLO, TX 78108-3559



STEAGALL, Y OLANDA                     STEWART MGMT TRUST                 Samuel A. Bishop
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Tammy Friddle or Tessa Friddle         Tausch Ventures, LLC               Teresa Lilly
FBO Cass Friddle                       c/o Michael G. Colvard             C/O Elena P. Serna
14914 Gateview Dr.                     Martin & Drought, P.C.             Rosenblatt Law Firm
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                                       112 East Pecan Street, Ste. 1616   San Antonio, Texas 78248-2351
                                       San Antonio, TX 78205-1512
Trisha Manship                         United States Attorney             United States Trustee - SA12
c/o Ronald J. Johnson                  Taxpayer Division                  US Trustee’s Office
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San Antonio, TX 78217-5139                                                San Antonio, TX 78295-1539

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P.O. BOX 746                           1301 S. 3rd AVE., UNIT 16-A        454 FLIPPIN ESTATES
CONVERSE, TX 78109-0746                SEQUIM, WA 98382-3959              SAN ANTONIO, TX 78239-3273
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WATSON, DONNA                         WETZEL, CHERYL 16                   WHEATLEY, LORETTA
454 FLIPPIN ESTATES                                  10007 CAROLWOOD                                      604 HI CIRCLE WEST
SAN ANTONIO, TX 78239-3273                           SAN ANTONIO, TX 78213-2044                           HORSESHOE BAY, TX 78657-6539



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3215 MORNING TRAIL                                   3215 MORNING TRAIL                                   3635 HAECKERVILLE RD.
SAN ANTONIO, TX 78247-3332                           SAN ANTONIO, TX 78247-3332                           CIBOLO, TX 78108-4138



WHITE, DOROTHEE                                      WHITE, LARRY                                         WHITE, TOM
3635 HAECKERVILLE                                    162 DEAN ROAD                                        3635 HAECKERVILLE
CIBOLO, TX 78108-4138                                CIBOLO, TX 78108-1902                                CIBOLO, TX 78108-4138



WHITE, TRAVIS                                        WILLIAMS, DANNY                                      WILLIAMSON, GEORGE
3635 HAECKERVILLE RD.                                885 FM 2538                                          3043 LOW OAK
CIBOLO, TX 78108-4138                                SEGUIN, TX 78155-8301                                SAN ANTONIO, TX 78232-1814



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90 BENT OAK CIRCLE                                   79 COLE POINT                                        2308 10th STREET
THOMASVILLE, GA 31757-9502                           HOSCHTON, GA 30548-4342                              MONROE, WI 53566-1803



William Kooiman                                      YATES, OZELL                                         Yolanda Pearson
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Yolanda Pearson and Antonio A. Zardenetta            Allen M. DeBard                                      John Patrick Lowe
Attn: Jose L. Soria                                  Langley & Banack, Inc.                               2402 East Main Street
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                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


HUMMEL REVOCABLE LIVING TRUST                        HUMMEL, SUANNE
7609 N.E. 61st CIRCLE                                6505A MELROSE TRAIL
VANCOUVER, WA 98662-4904                             AUSTIN, TX 78727
